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AO 245B (CASD Rev. 1/19) Judgment in a Criminal Case


                                      UNITED STATES DISTRICT COURT
                                         SOUTHERN DISTRICT OF CALIFORNIA
             UNITED STATES OF AMERICA                               JUDGMENT IN A CRIMINAL CASE
                                 v.                                 (For Offenses Committed On or After November I, 1987)
                    DENZIEL BURKE ( 1)
                                                                       Case Number:         17CR2678-BEN

                                                                    MICHEAL J. MCCABE
                                                                    Defendant's Attorney
USMNumber                        63530298
D-
THE DEFENDANT:
IZI pleaded guilty to count(s)         1 OF THE INDICTMENT.

D     was found guilty on count(s)
    after a olea of not 2:uiltv.
Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):
                                                                                                                     Count
Title & Section                   Nature of Offense                                                                 Number(s)
18 USC 1591(a) and (b)            SEX TRAFICKING OF A CHILD                                                               I




     The defendant is sentenced as provided in pages 2 through                 b           of this judgment.
The sentence is imposed pursuant to the Sentencing Reform Act of 1984.
D     The defendant has been found not guilty on count(s)

D     Count(s)                                                IS          dismissed on the motion of the United States.


      Assessment: $100.00 forthwith or through the Inmate Financial Responsibility Program (IFRP) at the rate of not less than
1Z1   $25.00 per quarter during the period of incarceration._

IZI   JVTA Assessment*:$ 5,000.00 WAIVED.
      *Justice for Victims of Trafficking Act of2015, Pub. L. No. 114-22.
D No fine                    D Forfeiture pursuant to order filed                                              , included herein.
       IT IS ORDERED that the defendant must notify the United States Attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this
judgment are fully paid. If ordered to pay restitution, the defendant must notify the court and United States Attorney of
any material change in the defendant's economic circumstances.

                                                                    12/17/2018
                                                                    Date oflmposition of Sentence



                                                                    HON. Roger T. Benitez
                                                                    UNITED STATES DISTRICT JUDGE
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                                                  IMPRISONMENT
 The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a total term of:
 ONE HUNDRED AND TWELVE (112) MONTHS.




 0     Sentence imposed pursuant to Title 8 USC Section 1326(b).
 IZI   The court makes the following recommendations to the Bureau of Prisons:

       DEFENDANT BE INCARCERATED OUTSIDE THE STATE OF CALIFORNIA.




 0     The defendant is remanded to the custody of the United States Marshal.

 0     The defendant must surrender to the United States Marshal for this district:
       0     at                             A.M.               on
       0     as notified by the United States Marshal.

       The defendant must surrender for service of sentence at the institution designated by the Bureau of
 0
       Prisons:
       0     on or before
       0     as notified by the United States Marshal.
       0     as notified by the Probation or Pretrial Services Office.

                                                        RETURN

 I have executed this judgment as follows:

       Defendant delivered on
                                                                         to ------------------------------
 at                                       , with a certified copy of this judgment.


                                                                    UNITED STATES MARSHAL



                                     By                     DEPUTY UNITED STATES MARSHAL



                                                                                                        17CR2678-BEN
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                                               SUPERVISED RELEASE
Upon release from imprisonment, the defendant will be on supervised release for a term of:
FIVE (5) YEARS.

                                            MANDATORY CONDITIONS
1. The defendant must not commit another federal, state or local crime.
2. The defendant must not unlawfully possess a controlled substance.
3. The defendant must not illegally possess a controlled substance. The defendant must refrain from any unlawful use of a
   controlled substance. The defendant must submit to one drug test within 15 days of release from imprisonment and at least
   two periodic drug tests thereafter as determined by the court. Testing requirements will not exceed submission of more
   than 4 drug tests per month during the term of supervision, unless otherwise ordered by the court.
        D The above drug testing condition is suspended, based on the court's determination that the defendant poses a low
           risk of future substance abuse. (check if applicable)
4. DThe defendant must make restitution in accordance with 18 U.S.C. §§ 3663 and 3663A or any other statute authorizing
   a sentence of restitution. (check if applicable)
5. D The defendant must cooperate in the collection of DNA as directed by the probation officer. (check if applicable)
6. DThe defendant must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. §
   20901, et seq.) as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in
   the location where the defendant resides, works, is a student, or were convicted of a qualifying offense. (check if
   applicable)
7. D The defendant must participate in an approved program for domestic violence. (check if applicable)

The defendant must comply with the standard conditions that have been adopted by this court as well as with any other
conditions on the attached page.




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                                      STANDARD CONDITIONS OF SUPERVISION
As part of the defendant's supervised release, the defendant must comply with the following standard conditions of
supervision. These conditions are imposed because they establish the basic expectations for the defendant's behavior
while on supervision and identify the minimum tools needed by probation officers to keep informed, report to the
court about, and bring about improvements in the defendant's conduct and condition.

1. The defendant must report to the probation office in the federal judicial district where they are authorized to reside within 72
   hours of their release from imprisonment, unless the probation officer instructs the defendant to report to a different probation
   office or within a different time frame.

2. After initially reporting to the probation office, the defendant will receive instructions from the court or the probation officer
   about how and when the defendant must report to the probation officer, and the defendant must report to the probation officer
   as instructed.

3. The defendant must not knowingly leave the federal judicial district where the defendant is authorized to reside without first
   getting permission from the court or the probation officer.

4. The defendant must answer truthfully the questions asked by their probation officer.

5. The defendant must live at a place approved by the probation officer. If the defendant plans to change where they live or
   anything about their living arrangements (such as the people living with the defendant), the defendant must notify the
   probation officer at least 10 days before the change. If notifying the probation officer in advance is not possible due to
   unanticipated circumstances, the defendant must notify the probation officer within 72 hours of becoming aware of a change or
   expected change.

6. The defendant must allow the probation officer to visit them at any time at their home or elsewhere, and the defendant must
   p~rmit the probation officer to take any items prohibited by the conditions of their supervision that he or she observes in plain
   view.

7. The defendant must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer
   excuses the defendant from doing so. If the defendant does not have full-time employment the defendant must try to find full-
   time employment, unless the probation officer excuses the defendant from doing so. lfthe defendant plans to change where the
   defendant works or anything about their work (such as their position or their job responsibilities), the defendant must notify the
   probation officer at least 10 days before the change. If notifying the probation officer at least 10 days in advance is not possible
   due to unanticipated circumstances, the defendant must notify the probation officer within 72 hours of becoming aware of a
   change or expected change.

8. The defendant must not communicate or interact with someone they know is engaged in criminal activity. If the defendant
   knows someone has been convicted of a felony, they must not knowingly communicate or interact with that person without
   first getting the permission of the probation officer.

9. If the defendant is arrested or questioned by a law enforcement officer, the defendant must notify the probation officer within 72 hours.

10. The defendant must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e.,
    anything that was designed, or was modified for, the specific purpose of causing bodily injury or death to another person such
    as nunchakus or tasers ).

11. The defendant must not act or make any agreement with a law enforcement agency to act as a confidential human source or
    informant without first getting the permission of the court.

12. If the probation officer determines the defendant poses a risk to another person (including an organization), the probation
    officer may require the defendant to notify the person about the risk and the defendant must comply with that instruction.
    The probation officer may contact the person and confirm that the defendant notified the person about the risk.

13. The defendant must follow the instructions of the probation officer related to the conditions of supervision.



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                               SPECIAL CONDITIONS OF SUPERVISION

   1. Participate in a program of drug or alcohol abuse treatment, including drug testing and counseling, as
      directed by the probation officer. Allow for reciprocal release of information between the probation
      officer and the treatment provider. May be required to contribute to the costs of services rendered in an
      amount to be determined by the probation officer, based on ability to pay.


   2. Report all vehicles owned or operated, or in which you have an interest, to the probation officer.


   3. Resolve all outstanding warrants within 60 days.


   4. Submit your person, property, residence, office or vehicle to a search, conducted by a United States
      Probation Officer at a reasonable time and in a reasonable manner, based upon reasonable suspicion of
      contraband or evidence of a violation of a condition of release; failure to submit to a search may be
      grounds for revocation; the defendant shall warn any other residents that the premises may be subject to
      searches pursuant to this condition.


   5. Submit your person, property, residence, abode, vehicle, papers, computer, social media accounts, any
      other electronic communications or data storage devices or media, and effects to search at any time, with
      or without a warrant, by any law enforcement or probation officer with reasonable suspicion concerning
      a violation of a condition of probation/supervised release or unlawful conduct, and otherwise in the
      lawful discharge of the officer's duties. 18 U.S.C. §§ 3563 (b)(23); 3583 (d)(3). Failure to submit to a
      search may be grounds for revocation; you shall warn any other residents that the premises may be
      subject to searches pursuant to this condition.


   6. Not use or possess devices which can communicate data via modem or dedicated connection and may
      not have access to the Internet without prior approval from the court or the probation officer. The
      offender shall consent to the installation of systems that will enable the probation officer to monitor
      computer use on any computer owned or controlled by the offender. The offender shall pay for the cost
      of installation of the computer software.


   7. Not have any contact, direct or indirect, either telephonically, visually, verbally or through written
      material, or through any third-party communication, with the victim or victim's family, without prior
      approval of the probation officer.


   8. Not associate with prostitutes or pimps and/or loiter in areas frequented by those\engaged in prostitution.


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                                                   FINE

The defendant shall pay a fine in the amount of      $5,000.00                 unto the United States of America.




This sum shall be paid       0    Immediately.

Through the Clerk, U.S. District Court. Payment offine shall be forthwith. During any period of incarceration
the defendant shall pay fine through the Inmate Financial Responsibility Program at the rate of 50% of the
defendant's income, or $25.00 per quarter, whichever is greater. The defendant shall pay the fine during his
probation at the rate of$200.00 per month. These payment schedules do not foreclose the United States from
exercising all legal actions, remedies, and process available to it to collect the fine judgment at any time. Until
fine has been paid, the defendant shall notify the Clerk of the Court and the United States Attorney's Office of
any change in the defendant's mailing or residence address, no later than thirty (30) days after the change
occurs.




The Court has determined that the defendant       does not    have the ability to pay interest. It is ordered that:
IZI      The interest requirement is waived




II


                                                                                                      17CR2678-BEN
